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                               CERTIFICATE OF SERVICE

       I hereby certify that true copies of the above documents were served upon the attorneys of

record by electronic mail on May 30, 2018.




                                                   /s/ Anne F. Hancock
                                                   Anne F. Hancock
